Case 2:05-cr-02075-EFS   ECF No. 1360   filed 06/27/06   PageID.5772 Page 1 of 6
Case 2:05-cr-02075-EFS   ECF No. 1360   filed 06/27/06   PageID.5773 Page 2 of 6
Case 2:05-cr-02075-EFS   ECF No. 1360   filed 06/27/06   PageID.5774 Page 3 of 6
Case 2:05-cr-02075-EFS   ECF No. 1360   filed 06/27/06   PageID.5775 Page 4 of 6
Case 2:05-cr-02075-EFS   ECF No. 1360   filed 06/27/06   PageID.5776 Page 5 of 6
Case 2:05-cr-02075-EFS   ECF No. 1360   filed 06/27/06   PageID.5777 Page 6 of 6
